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 5   Attorney for Defendant
     CESAR LOPEZ
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                   IN THE UNITED STATES DISTRICT COURT
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                FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                            Case No.: 09-CR-00299-02 LJO
13                        PLAINTIFF,
                                                          STIPULATION AND ORDER TO
14                                                        CONTINUE
                                                          SENTENCING DATE
15   CESAR LOPEZ,
16                                 DEFENDANTS.
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     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE:
19
     LAWRENCE J. O’NEILL AND ELANA SHARON LANDAU, UNITED STATES
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     ATTORNEY:
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            COMES NOW Defendant, CESAR LOPEZ by and through his attorney of record,
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     DAVID A. TORRES hereby requesting that the Sentencing date currently set for September 16,
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     2010 be continued to November 12, 2010 at 9:00 a.m., or a date convenient to court and
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     counsel.
25
            This is a mutual agreement between myself , and United States Attorney Elana Sharon
26
     Landau, for the purpose of further investigations.
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              Case 1:09-cr-00299-JLT Document 110 Filed 09/15/10 Page 2 of 3


 1          Based upon the foregoing, I respectfully request that this matter be continued to
 2   November 12, 2010.
 3          The parties also agree that the delay resulting from the continuance shall be excluded in
 4   the interest of justice pursuant to 18 U.S.C. §3161(h)(7)(A) and §3161(h)(7)(B)(i) & (iv).
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 6
 7   Dated: September 14, 2010                           /s/ David A. Torres
                                                         DAVID A. TORRES
 8                                                       Attorney for Defendant
                                                         CESAR LOPEZ
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12   Dated: September 14 , 2010                          /s/ Elana Sharon Landau
                                                         ELANA SHARON LANDAU
13                                                       Assistant U.S. Attorney
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 1                                                ORDER
 2            Time is excluded in the interest of justice pursuant to 18 U.S.C. §3161(h)(7)(A) and
 3   §3161(h)(7)(B)(i) & (iv).      Good Cause exists for the continuance.
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                                                                                 IT IS SO ORDERED.
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     Dated:      September 14, 2010                   /s/ Lawrence J. O'Neill
17   b9ed48                                       UNITED STATES DISTRICT JUDGE
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